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CAPITOL RIOTS

Jan. 6 could have been ‘spark
started a new civil war' former —....
Keepers spokesman says

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Jason Van Tatenhove testified before the January 6th Committee on
Tuesday about his former militia's role in the Capitol riot.

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Author: Jordan Fischer } ©
Published: 7:37 PM EDT July 12, 2022

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WASHINGTON — When the Oath Keepers and their !eader Stewart Rhodes answered former
President Donatd Trump's call to travel to B.C. on Jan. 6, 2021, they had far more than protest in
mind, according to testimony by the militia’s former national spokesman before the January 6th
Committee Tuesday.

“What it was going to be was an armed revolution,” said Jason Van Tatenhove, who left the
group in 2017. “People died that day. Law enforcement officers died that day. There was a
gallows set up in front of the Capitol. This could have been the spark that started a new civil

war,

Five people who were at the Capitol on Jan. 6 died within 24 hours of the riot, including U.S.
Capitol Police Officer Brian Sicknick, who was pronounced dead the following day after
suffering multiple strokes. Four police officers who responded to the riot subsequently died of

https:/Awww.wusa9. com/article/news/national/capitol-riots/jan-6-could-have-been-spark-that-started-a-new-civil-war-former-oath-keepers-spokesman-s....
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suicide, including one, D.C. Police Officer Jeffrey Smith, whose widow was in the WUSA would like to send you push

Tuesday as Van Tatenhove testified before the committee. notifications about the latest news and
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Tuesday's hearing, the seventh the committee has held over the past two month Notifications can be turned off anytime in the
tweet sent by Trump in the early morning hours of Dec. 19, 2020, and the way it browser settings.
galvanized” his supporters, as Maryland Rep. Jamie Raskin (D} put it.

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The tweet urged supporters to travel to D.C, on Jan. 6 — the day Electoral Colleg

be certified by a joint session of Congress — promising it “will be wild.” The committee showed
how Trump’s words lit up online communities of supporters and prompted immediate action
from Women for America First director Cindy Chafian, who changed the date of a planned rally
from after the inauguration to Jan. 6. It also prompted overtures between two groups which
had previously operated independenily: the Proud Boys and Oath Keepers.

Van Tatenhove says Stewart Rhodes asked him to make a deck of cards similar to
the military's “Most Wanted Iraqis” used in Operation Iraqi Freedom. Would have
included politicians and judges. Specifically wanted Hillary Clinton to be the
Queen of Hearts. Tatenhove refused. pic.twittencom/Jy4cgjeClk

— Jordan Fischer (@JordanOnRecord) July 12, 2022

In court filings last March, the Justice Department published Facebook communications from
Florida Oath Keepers leader Kelly Meggs bragging about organizing “an alliance” between his
group, Florida Three Percenters and the Proud Boys. Meggs is one of nine Oath Keepers, along
with Rhodes, now charged with seditious conspiracy.

On Tuesday, though, the committee presented evidence that their communications went much
deeper. According to logs obtained by the committee, Rhodes and former Proud Boys
chairman Enrique Tarrio were in a “Friends of Stone” chat with long-time Trump confidante and
Stop the Steal founder Ali Alexander. The committee also detailed the groups’ relationships
with former Trump National Security Adviser retired Lt. Gen. Michael Flynn and InfoWars host
Alex Jones. All four men spoke at the Ellipse on Jan. 5, the day before Trump himself spoke,
and multiple Oath Keepers were working Stone’s personal security detail on Jan. 6. One of
them, Joshua James, pleaded guilty to felony charges of seditious conspiracy and obstruction
of an official! proceeding in March.

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The committee also presented evidence that Alexander, fellow rally organizer Ky weather.

others knew Trump was planning on directing the crowd at the Ellipse to the Car Notifications can be turned off anytime in the
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despite some his own closest advisers being unaware.

“Tomorrow: Ellipse then US Capitol,” Alexander allegedly wrote in a text obtainec No Thanks
committee. “Trump is supposed to order us to the Capitol at the end of his speec
see.”

The committee has obtained a text between Ellipse rally organizer Kylie Kremer

and Mike Lindell talking about the plan for Trump to “unexpectedly” call for the

March to the Capitol. She told Lindell not to distribute that widely, because she
would get in trouble. pic.twitte.com/RYPtudw205

— Jordan Fischer (@JordanOnRecord) July 12,2022

In a text to MyPillow CEO Mike Lindell beginning “this stays between us,” Kremer wrote that
“POTUS is going to just call for it ‘unexpectedly.” That claim was backed up by a draft tweet
obtained from the National Archives in which Trump would have told his supporters ahead of
time about a march to the Capitol after his Jan. 6 speech. That tweet was never sent, but it was
marked “PRESIDENT HAS SEEN.”

They also obtained a draft tweet from the National Archives, which was never
sent, in which Trump would have told supporters about a march to the Capitol
after his speech on Jan. 6. pic.twittercom/LEmOngJh9q

= Jordan Fischer (@JordanOnRecord) July 12, 2022

Instead of sending the tweet, Trump repeatedly pushed his supporters to the Capitol in his
speech — ad libbing multiple calls to action that weren't in the written version, according to the
committee.

“A single scripted reference to Mike Pence became eight. 4 single scripted reference to a
march to the Capitol became four, with the president ad libbing that he would be joining them
himself” said Rep. Stephanie Murphy (D-FL).

The former president did not, ultimately, join the crowd at the Capitol himself — although
according to testimony from an aide to his chief of staff, he endeavored desperately to do sa —
but dozens of members of the Proud Boys and Oath Keepers did. And when the assault on the
Capitol failed to stop the certification of Electoral College votes, according to one of those Oath
Keepers who pleaded guilty in May, Rhodes called someone close to Trump and urged him to
“call upon groups like the Oath Keepers to forcibly oppose the transfer of power” by invoking
the Insurrection Act.

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That, according to Van Tatenhove, was the clearest glimpse of what the Oath Keepers’ vision
for the country is.

“We've got to stop with this dishonesty and the mincing of words and just call things what they
are,” he said Tuesday. “[Stewart Rhodes] is a militia leader. He has grand visions of being a
paramilitary leader, and the Insurrection Act would have given him a path forward with that. The
fact that the president was communicating, whether directly or indirectly messaging, that gave
him the nod. And all | can do is thank the gods that things did not go any worse that day.”

The January 6th Committee's next hearing was expected to be July 21 in primetime. Vice Chair
Rep. Liz Cheney (R-WY) promised it would return to the events of Jan. 6 itself and offer the
public a minute-by-minute accounting of what Trump was doing in the White House.

We're tracking all of the arrests, charges and investigations into the January 6 assault on the
Capitol. Sign up for our Capito! Breach Newsletter here so that you never miss an update.

"Yes, I'm a Trump Girl’ | WV Air National Guard member pleads guilty in Capito! riot

DOJ asks judge for maximum sentence for Ohio veteran who entered Capitol
twice on Jan, 6

More resignations within U.S. Capitol Police? Longtime partner of fallen officer claims
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